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UNITED STATES DISTRICT COURT AUG 16 2016

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AO 91 (Rev. 11/11) Criminal Complaint

 

 

 

 

 

for the
David J, Bradley, Clarice Gout
Southern District of Texas % is
United States of America )
Vv. )
Victor Hugo Valdez Pinon ) Case No.
3 H16- 1204
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 1/1/2009 to on or about 12/31/2012 in the county of Harris in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 USC Section 371 Conspiracy to violate the Foreign Corrupt Practices Act

This criminal complaint is based on these facts:

See attached affidavit.

% Continued on the attached sheet.

(5 Qa

Complainant’s signature

Corbin Wickman, Special Agent, HSI

Printed name and title

 

Sworn to before me and signed in my presence.

Date: 5 -/6 WA G ——_ —
Ju

— —
a4 KLE signature

City and state: Houston, Texas Nancy K* Johngon, United States Magistrate Judge
Printed name and title

 
 

 

 

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SOUTHERN DISTRICT OF TEXAS i uPrghibited by court orden,
HOUSTON DIVISION
UNITED STATES OF AMERICA ? 0 4 My
Case No. H 1 6 ” |
v.
VICTOR HUGO VALDEZ PINON, UNDER SEAL
Defendant.
AFFIDAVIT IN SUPPORT OF
CRIMINAL COMPLAINT AND ARREST WARRANT
I, Corbin Wickman, (“Affiant”), being first duly sworn, hereby depose and state

as follows:

INTRODUCTION AND AFFIANT’S BACKGROUND

I. I am a Special Agent with Homeland Security Investigations (“HSI”). I am an

investigative or law enforcement officer of the United States within the meaning of Title 18,
United States Code, Section 2510(7), that is, an officer of the United States who is empowered
by law to conduct investigations and to make arrests for federal felonies.

2. I have been employed by HSI as a Special Agent since 2005. During my tenure
as an HSI Special Agent, I have participated in numerous criminal investigations involving
intellectual property, financial crimes, fugitive apprehensions, white collar crime, as well as
other unlawful activities, to include the Foreign Corrupt Practices Act. During my time as an
HSI Special Agent I have also participated in numerous searches, arrests, and seizure warrants
involving a variety of federal offenses. I am currently assigned to the Houston, Texas Division

of HSI.
 

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3. I make this affidavit in support of a criminal complaint and arrest warrant related
to defendant, VICTOR HUGO VALDEZ PINON (“VALDEZ”), engaging in a conspiracy to
violate the Foreign Corrupt Practices Act. The information contained in this affidavit is based
upon my personal knowledge, as well as information obtained from other sources, including (a)
statements made or reported by various witnesses, including cooperating witnesses, with
knowledge of relevant facts; (b) audio and video recordings of conversations between VALDEZ
and a cooperating witness; (c) my review of publicly available information relating to VALDEZ
and other relevant individuals and entities; (d) documents obtained from various sources; and (e)
discussions with other law enforcement officials. I have limited this affidavit to those facts
necessary to support a finding of probable cause that VALDEZ violated Title 18, United States
Code, Section 371 (conspiracy to commit an offense, specifically in this case to violate the
Foreign Corrupt Practices Act). Accordingly, this affidavit does not include a complete
recitation of the entire investigation or of each and every fact and matter observed by or known
to law enforcement relating to the subject matter of this investigation. Additionally, unless
otherwise noted, wherever in this affidavit I assert that a statement was made by an individual,
that statement is described in substance and in part, and is not intended to be a verbatim
recitation of the entire statement made by the individual.

PROBABLE CAUSE

Entities and Individuals

4, The Foreign Corrupt Practices Act of 1977 (“FCPA”), as amended, Title 15,
United States Code, Sections 78dd-1, ef seg., was enacted by Congress for the purpose of, among
other things, making it unlawful to act corruptly in furtherance of an offer, promise,

authorization, or payment of money or anything of value, directly or indirectly, to a foreign

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official for the purpose of obtaining or retaining business for, or directing business to, any
person.

5. Based on public source searches, as well as documents the government has
obtained in this investigation, including official Foreign LEA documents, “Foreign LEA” as
referenced in this affidavit was a government-controlled, federal law enforcement agency in
Mexico, and as part of its operations, Foreign LEA maintained a number of aircraft used for
transportation purposes and employs pilots.

6. Based on documents the government has obtained in this investigation, including
official Foreign LEA documents and United States visa-related documents, “Foreign Official 1,”
“Foreign Official 2,” and “Foreign Official 3,” were employees and officers of Foreign LEA
with responsibility for maintaining Foreign LEA’s aircraft from at least on or about January 1,
2009 through at least on or about December 31, 2012.

7. The FCPA, Title 15, United States Code, Section 78dd-2(h)(2), in relevant part,
defines a “foreign official” as “any officer or employee of a foreign government or any
department, agency, or instrumentality thereof, . . . or any person acting in an official capacity

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for or on behalf of any such government or department, agency, or instrumentality[.]” During
the relevant time period, therefore, Foreign Official 1, Foreign Official 2, and Foreign Official 3
were each a “foreign official” as that term is used in the FCPA, Title 15, United States Code,
Section 78dd-2(h)(2).

8. Based on public source searches and documents Aviation Corporation A has
provided to the government, “Aviation Corporation A” was a United States company, with its

principal place of business in the United States, namely in the Southern District of Texas.

Aviation Corporation A provided maintenance, repair, overhaul, and related services to

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customers in the United States and Mexico, including to Foreign LEA, throughout the time
period from at least on or about January 1, 2009 through at least on or about December 31, 2012.

9. At all relevant times, Cooperating Witness 1 (““CW1”) was.a citizen of the United
States and resident of Texas, and was President and a part owner of Aviation Corporation A.
CWI has signed a cooperating plea agreement that would permit the government in its discretion
to recommend a reduced sentence if CW1 truthfully and substantially assists the government’s
continuing investigation into VALDEZ and others.

10. Defendant VALDEZ was a sales agent for Aviation Corporation A, which paid
VALDEZ a commission to bring Mexican customers needing aircraft parts or maintenance
services to Aviation Corporation A from at least on or about January 1, 2007 to the present.

11. The FCPA, Title 15, United States Code, Section 78dd-2(h)(1), in relevant part,
defines a “domestic concern” as “any individual who is a citizen, national, or resident of the
United States;” and “any corporation, partnership, association, joint-stock company, business
trust, unincorporated organization, or sole proprietorship which has its principal place of
business in the United States, or which is organized under the laws of a State of the United
States[.]” Therefore, at all relevant times, Aviation Corporation A and CW1 were each a
domestic concern, and CW1 and VALDEZ were each an employee or agent of a domestic
concern, as those terms are used in the FCPA, Title 15, United States Code, Section 78dd-
2(h)(1).

The Agreement to Engage in a Scheme to Bribe Foreign Officials

12. | CWI1 has been cooperating with agents of the United States for the last several
months, and over this time period CW1 has told the government that when VALDEZ was acting

as a sales agent for Aviation Corporation A, CW1 and VALDEZ paid bribes to representatives

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of Mexican customers, including Mexican government agencies, so that those representatives
would steer business to Aviation Corporation A. As explained more fully below, the information
provided by CW1 is corroborated by documents obtained from Aviation Corporation A, bank
records, travel records, and single-party consent recordings of conversations involving VALDEZ
and CW1.

13. According to CW1, individuals at Aviation Corporation A, including CWl,
reached an agreement with VALDEZ to pay kickbacks to Foreign LEA officials — including
Foreign Official 1, Foreign Official 2, and Foreign Official 3 — on certain sales that Aviation
Corporation A made to Foreign LEA.

14. The government has obtained e-mails between CWl, VALDEZ and others,
showing that CW1 and VALDEZ communicated through e-mail about their ongoing agreement
regarding the Foreign LEA kickback scheme.

15. CW1 told the government — and e-mails between CW1 and VALDEZ, as well as
internal Aviation Corporation A documents show — that Aviation Corporation A increased the
prices it charged Foreign LEA to include the money that Aviation Corporation A agreed to pay
the three foreign officials.

16. E-mails between CWl and VALDEZ, internal Aviation Corporation A
documents, and bank records show that after Aviation Corporation A received payment from
Foreign LEA, Aviation Corporation A would wire money to or deposit a check into one of
VALDEZ’s bank accounts from Aviation Corporation A’s account in the Southern District of
Texas.

17, CW1 has explained to the government that the amounts Aviation Corporation A

deposited into VALDEZ’s accounts included a 20% “commission,” which consisted of a 5%

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commission for VALDEZ as well as a 15% total kickback (5% each) for the three foreign
officials. The government has obtained e-mails between CW1 and VALDEZ, internal Aviation
Corporation A documents, and bank records that corroborate this aspect of the scheme. In
addition, on or about April 5, 2016, when CW1, in a consensually recorded conversation, asked
VALDEZ the manner in which VALDEZ paid the 5% each for the three foreign officials,
VALDEZ responded: “Most of the time, cash, most of the time. I meet with them and I give the
cash, and nobody see, in different area.”
Overt Acts

18. Based on e-mails obtained from Aviation Corporation A, on or about December 3,
2010, VALDEZ emailed CW1 the following regarding a specific business deal Aviation
Corporation A had done with Foreign LEA: “Well you know at the beginning of the deal was
20% of the total of each invoice, 5% for each [the first name of Foreign Official 1], [the first
name of Foreign Official 2], [the first name of Foreign Official 3] and I. But you tell me.”

19. On or about February 29, 2012, Aviation Corporation A made a commission
payment to VALDEZ which, internal Aviation Corporation A documents show, amounted to
approximately 20% of certain payments Foreign LEA made to Aviation Corporation A.

20. In another e-mail obtained from Aviation Corporation A, on or about February 29,
2012, VALDEZ wrote CW1 about an accounting discrepancy “regarding the consulting fee for
[Foreign LEA]” that Aviation Corporation A owed him under the agreement. VALDEZ wrote:
“Please my friend can you check with [Aviation Corporation A bookkeeper] . . . I know they are
specting [sic] receive more, I don’t have the exactly amount they are waiting but [the first name

of Foreign Official 1] has they [sic] own numbers that I should discuss with him.”

 

 
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CONCLUSION
21. Based on the foregoing, I believe that probable cause exists to issue a criminal
complaint and arrest warrant charging VICTOR HUGO VALDEZ PINON with violating Title
18, United States Code, Section 371 (conspiracy to violate the Foreign Corrupt Practices Act).

I declare under the penalty of perjury that the foregoing is true and correct to the best of

    

 

 

 

my knowledge.

Respectfully submitted,

Corbin Wickm.

Special Agent

Homeland Security Investigations
Subscribed and sworn to before me on AK io L LZ , 2016 and I find
probable cause. /

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D STATES MAGISTRATE JUDGE
